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    Case: 17-2146   Document: 00713210842      Filed: 05/03/2018  Pages: 2



       UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



 Everett McKinley Dirksen United States Courthouse                                  Office of the Clerk
         Room 2722 - 219 S. Dearborn Street                                        Phone: (312) 435-5850
              Chicago, Illinois 60604                                              www.ca7.uscourts.gov




                                          NOTICE OF ISSUANCE OF MANDATE
  May 3, 2018


 To:            Justine Flanagan
                UNITED STATES DISTRICT COURT
                Southern District of Illinois
                East St. Louis , IL 62201-0000


                                          COMMUNITY BANK OF TRENTON, et al.,
                                          Plaintiffs - Appellants

  No. 17-2146                             v.

                                          SCHNUCK MARKETS, INCORPORATED,
                                          Defendant - Appellee

   Originating Case Information:

  District Court No: 3:15-cv-01125-MJR-RJD
  Southern District of Illinois
  District Judge Michael J. Reagan


 Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
 certified copy of the opinion/order of the court and judgment, if any, and any direction as to
 costs shall constitute the mandate.


   RECORD ON APPEAL STATUS:                                  No record to be returned




 NOTE TO COUNSEL:
 If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
 to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
 will be disposed of.
Case 3:15-cv-01125-MJR-RJD Document 78 Filed 05/03/18 Page 2 of 2 Page ID #539
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 Please acknowledge receipt of these documents on the enclosed copy of this notice.

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  Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
  Seventh Circuit.

  Date:                                               Received by:


  _________________________                           ____________________________________




  form name: c7_Mandate(form ID: 135)
